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                              No. 23-10866-B


      In the United States Court of Appeals
             for the Eleventh Circuit
                                M.A., ET AL.,

                                             Plaintiffs–Appellants-Cross-appellees,
                                     v.

              FLORIDA STATE BOARD OF EDUCATION, ET AL.,

                                             Defendants–Appellees-Cross-appellants.


                     JOINT MOTION TO STAY

                         ON APPEAL FROM THE
                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                        CASE NO. 4:22-CV-00134-AW-MJF



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                               M.A., et al. v. Florida State Board of Education, et al.
                                              Eleventh Circuit Case No. 23-10866-B
                 CERTIFICATE OF INTERESTED PERSONS

      Undersigned counsel certify that the following is a complete list of interested

persons as required by Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit

Rules 26.1–26.3 and 27-1(a)(9):

      1. Alfonso, Denis John, Attorney for Defendant-Appellee Pasco County School Board

      2. Alfonso, Nancy, Attorney for Defendant-Appellee Pasco County School Board

      3. Armstrong, Amber, Parent of Plaintiff-Appellant-Cross-Appellee

      4. M.A., Plaintiff-Appellant-Cross-Appellee

      5. Bell, Daniel, Attorney for Defendants-Appellees-Cross-Appellants Florida State Board

         of Education, Florida Department of Education, Manny Diaz, Ben Gibson, Esther Byrd,

         Grazie P. Christie, Joe York, Monesia Brown, Ryan Petty, and Thomas R. Grady

      6. Berg, Scott, Plaintiff-Appellant-Cross-Appellee

      7. Broward County School Board, Defendant-Appellee

      8. Broward School Board, Defendant-Appellee

      9. Brown, Monesia, Defendant-Appellee-Cross-Appellant

      10. Burke, Michael, Attorney for Defendant-Appellee Broward County School Board

      11. Byrd, Esther, Defendant-Appellee-Cross-Appellant

      12. Carroll, David, Attorney for Amicus Curiae Christian Action Network

      13. Carroll Ucker & Hemmer LLC, Law Firm of Attorney for Amicus Curiae Christian

         Action Network
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                                                         Eleventh Circuit Case No. 23-10872
    14. Casares, Lourdes, Plaintiff-Appellant-Cross-Appellee

    15. Christian Action Network, Amicus Curiae

    16. Christie, Grazie P., Defendant-Appellee-Cross-Appellant

    17. Corcoran, Richard, Defendant

    18. DeSantis, Ronald D., Defendant

    19. DeSousa, Jeffrey P., Attorney for Defendants-Appellees-Cross-Appellants Florida

       State Board of Education, Florida Department of Education, Manny Diaz, Ben Gibson,

       Esther Byrd, Grazie P. Christie, Joe York, Monesia Brown, Ryan Petty, and Thomas R.

       Grady

    20. Manny Diaz, Defendant-Appellee-Cross-Appellant

    21. District of Columbia, Amicus Curiae

    22. Jane Doe, Plaintiff-Appellant-Cross-Appellee

    23. Doniger, Kate Linsley, Attorney for Plaintiffs-Appellants-Cross-Appellees

    24. Elizabeth F. Schwartz, P.A. Law Firm of Attorney for Plaintiff-Appellants

    25. Family Equality, Plaintiff-Appellant-Cross-Appellee

    26. Faruqui, Bilal, Attorney for Defendants-Appellees-Cross-Appellants Florida State

       Board of Education, Florida Department of Education, Manny Diaz, Ben Gibson,

       Esther Byrd, Grazie P. Christie, Joe York, Monesia Brown, Ryan Petty, and Thomas R.

       Grady

    27. Feinberg, Kimberly, Plaintiff-Appellant-Cross-Appellee

    28. Florida Office of the Attorney General
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                                                         Eleventh Circuit Case No. 23-10872
    29. Florida Department of Education, Defendant-Appellee-Cross-Appellant

    30. Florida State Board of Education, Defendant-Appellee-Cross-Appellant

    31. Frank, Michael J., United States Magistrate Judge

    32. Gallagher, Ashley T., Attorney for Defendant-Appellee School Board of Manatee

       County

    33. Gibson, Ben, Defendant-Appellee-Cross-Appellant

    34. Grady, Thomas R., Defendant-Appellee-Cross-Appellant

    35. Grosholz, Jeffrey, Attorney for Defendant-Appellee School Board of St. John’s County

    36. Harvey, Walter J., Attorney for Defendant-Appellee School Board of Miami-Dade

       County

    37. Horne, Eliza N., Attorney for Defendant-Appellee School Board of Manatee County

    38. Houry, Cecile, Plaintiff-Appellant-Cross-Appellee

    39. Jackson County School Board, Defendant-Appellee

    40. Jackson, Erin G., Attorney for Defendant-Appellee School Board of Manatee County

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    42. Johnson Jackson LLP, Law Firm of Attorneys for Defendant-Appellee Board of

       Manatee County

    43. Kaplan Hecker & Fink LLP, Law Firm of Attorneys for Plaintiffs-Appellants-Cross-

       Appellees

    44. Kaplan, Roberta A., Attorney for Plaintiffs-Appellants-Cross-Appellees
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                                                        Eleventh Circuit Case No. 23-10872
    45. Madrigal, Jordan, Attorney for Defendant-Appellee School Board of Miami-Dade

       County

    46. Matz, Joshua, Attorney for Plaintiffs-Appellants-Cross-Appellees

    47. Marsey, David, Attorney for Defendant-Appellee School Board of St. John’s County

    48. McClelland, Lindsay, Plaintiff-Appellant-Cross-Appellee

    49. McDermott Will & Emery LLP, Law Firm of Attorney for Plaintiffs-Appellants-

       Cross-Appellees

    50. Morrison, Rabbi Amy, Plaintiff-Appellant-Cross-Appellee

    51. National Center for Lesbian Rights, Law Firm of Attorney for Plaintiffs-

       Appellants-Cross-Appellees

    52. Office of the Attorney General for the District of Columbia, Attorneys for

       Amici Curiae District of Columbia and States of California, Colorado, Connecticut,

       Delaware, Hawaii, Illinois, Maine, Maryland, Massachusetts, Michigan, Minnesota,

       Nevada, New Jersey, New York, Oregon, Rhode Island, and Washington

    53. Office of the Attorney General of New Jersey, Attorneys for Amici Curiae

       District of Columbia and States of California, Colorado, Connecticut, Delaware, Hawaii,

       Illinois, Maine, Maryland, Massachusetts, Michigan, Minnesota, Nevada, New Jersey,

       New York, Oregon, Rhode Island, and Washington

    54. Office of the Attorney General of Texas, Attorneys for Amici Curiae States of

       Alabama, Alaska, Arkansas, Georgia, Indiana, Kentucky, Louisiana, Mississippi,

       Nebraska, Oklahoma, South Carolina, Texas, Virginia and West Virginia
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                                                          Eleventh Circuit Case No. 23-10872
    55. Oliva, Jacob, Defendant

    56. Orange County School Board, Defendant-Appellee

    57. Orange County School Board Office of General Counsel, Attorneys for

       Defendant-Appellee Orange County School Board

    58. Palmerini, John C, Attorney for Defendant-Appellee Orange County School Board

    59. Pasco County School Board, Defendant-Appellee

    60. Patel, Anita J., Attorney for Defendants-Appellees-Cross-Appellants Florida State

       Board of Education, Florida Department of Education, Manny Diaz, Ben Gibson,

       Esther Byrd, Grazie P. Christie, Joe York, Monesia Brown, Ryan Petty, and Thomas R.

       Grady

    61. Petty, Ryan, Defendant-Appellee-Cross-Appellants

    62. Powderly, Anita Hatcher, Plaintiff-Appellant-Cross-Appellee

    63. Quinn, John Charles, Attorney for Plaintiffs-Appellants-Cross-Appellees

    64. Rumberger Kirk, Law Firm of Attorneys for Defendant-Appellee School Board of St.

       John’s County

    65. S.S., Plaintiff-Appellant-Cross-Appellee

    66. School Board of Manatee County, Defendant-Appellee

    67. School Board of Miami-Dade County, Defendant-Appellee

    68. School Board of Sarasota County, Defendant-Appellee

    69. Schulman, Carl, parent of Plaintiff-Appellant-Cross-Appellant

    70. Schulman, Ivonne, parent of Plaintiff-Appellant-Cross-Appellee
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    71. Schwartz, Elizabeth F., Attorney for Plaintiffs-Appellants-Cross-Appellees

    72. Shook, Lindsey Bingham, Plaintiff-Appellant-Cross-Appellee

    73. State of Alabama, Amicus Curiae

    74. State of Alaska, Amicus Curiae

    75. State of Arkansas, Amicus Curiae

    76. State of California, Amicus Curiae

    77. State of Colorado, Amicus Curiae

    78. State of Connecticut, Amicus Curiae

    79. State of Delaware, Amicus Curiae

    80. State of Georgia, Amicus Curiae

    81. State of Hawaii, Amicus Curiae

    82. State of Illinois, Amicus Curiae

    83. State of Indiana, Amicus Curiae

    84. State of Kentucky, Amicus Curiae

    85. State Louisiana, Amicus Curiae

    86. State of Maine, Amicus Curiae

    87. State of Maryland, Amicus Curiae

    88. State of Massachusetts, Amicus Curiae

    89. State of Michigan, Amicus Curiae

    90. State of Minnesota, Amicus Curiae

    91. State of Mississippi, Amicus Curiae
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                                                          Eleventh Circuit Case No. 23-10872
    92. State of Nebraska, Amicus Curiae

    93. State of Nevada, Amicus Curiae

    94. State of New Jersey, Amicus Curiae

    95. State of New York, Amicus Curiae

    96. State of Oklahoma, Amicus Curiae

    97. State of Oregon, Amicus Curiae

    98. State of Rhode Island, Amicus Curiae

    99. State of South Carolina, Amicus Curiae

    100. State of Texas, Amicus Curiae

    101. State of Virginia, Amicus Curiae

    102. State of Washington, Amicus Curiae

    103. State of West Virginia, Amicus Curiae

    104. Stearns, Christopher J., Attorney for Defendant-Appellee Broward County School

       Board

    105. St. Johns County School Board, Defendant-Appellee

    106. Stoll, Christopher F., Attorney for Plaintiffs-Appellants-Cross-Appellees

    107. Stone, Judd E., Attorney for Amici Curiae States of Alabama, Alaska, Arkansas,

       Georgia, Indiana, Kentucky, Louisiana, Mississippi, Nebraska, Oklahoma, South

       Carolina, Texas, Virginia and West Virginia

    108. Trice, D. Brandon, Attorney for Plaintiffs-Appellants-Cross-Appellees

    109. Tuetken, Adam J., Attorney for Amici Curiae District of Columbia and States of
 USCA11 Case: 23-10866           Document: 49       Date Filed: 08/15/2023        Page: 9 of 16
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           California, Colorado, Connecticut, Delaware, Hawaii, Illinois, Maine, Maryland,

           Massachusetts, Michigan, Minnesota, Nevada, New Jersey, New York, Oregon, Rhode

           Island, and Washington

       110. VanTice, Brent, Plaintiff-Appellant-Cross-Appellee

       111. VanTice, Dan, Plaintiff-Appellant-Cross-Appellee

       112. Volmer, Ahn, Plaintiff-Appellant-Cross-Appellee

       113. Washington, Myndee, Plaintiff-Appellant-Cross-Appellee

       114. Wasserkrug, Joseph Matthew, Attorney for Plaintiffs-Appellants-Cross-

           Appellees

       115. Weaver, Michael W., Attorney for Plaintiffs-Appellants-Cross-Appellees

       116. Whitaker, Henry C., Attorney for Defendants-Appellees-Cross-Appellants Florida

           State Board of Education, Florida Department of Education, Manny Diaz, Ben Gibson,

           Esther Byrd, Grazie P. Christie, Joe York, Monesia Brown, Ryan Petty, and Thomas R.

           Grady

       117. York, Joe, Defendant-Appellee-Cross-Appellant

                   CORPORATE DISCLOSURE STATEMENT

       Plaintiff-Appellant-Cross-Appellee Family Equality is a non-profit corporation

which has no parent corporation, and no publicly held corporation owns 10% or more

of its stock.
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                             JOINT MOTION TO STAY
       The parties are engaged in active settlement discussions, including pursuant to

the Court’s Rule 33-1 requiring pre-appeal mediation, and therefore ask the Court to

stay all briefing deadlines while those discussions continue. The parties jointly ask the

Court to order the following:

       1. All briefing deadlines in this case shall be stayed while the parties discuss the

possibility of settlement.

       2. Every 60 days, beginning September 30, 2023, the parties shall file a joint status

report confirming whether their settlement discussions continue to be productive.

       3. Should the parties’ settlement discussions no longer appear to be productive,

any party may withdraw its consent to the stay by filing a notice with the court. Should

that happen, Defendants will have 30 days from the date of the notice to submit their

answering brief and Plaintiffs will have 45 days for their reply brief.




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Dated: August 15, 2023                  Respectfully submitted,

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                                        Florida Department of Education, Manny
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                                        Christie, Joe York, Monesia Brown, Ryan
                                        Petty, and Thomas Grady

                                        /s/ J. David. Marsey
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                                       Appellees

                                       * application for admission pro hac vice
                                       forthcoming




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                      CERTIFICATE OF COMPLIANCE

      1.     This document complies with Fed. R. App. P. 27(d)(2)(A) because,

excluding the parts of the document exempted by Fed. R. App. P. 32(f), this document

contains 146 words.

      2.     This document complies with the typeface and type-style requirements of

Fed. R. App. P 27, Fed. R. App. P. 32(a)(5), and Fed. R. App. P. 32(a)(6) because this

document has been prepared in a proportionally spaced typeface using Microsoft Word

in 14-point Garamond font.

                                                  /s/ Daniel W. Bell
                                                  Chief Deputy Solicitor General




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                         CERTIFICATE OF SERVICE

      I certify that on August 15, 2023, I electronically the foregoing document with

the Clerk of Court using the Court’s CM/ECF system, which will send a notice of

docketing activity to all parties who are registered through CM/ECF.

                                                  /s/ Daniel. W. Bell
                                                  Chief Deputy Solicitor General




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